    CASE 0:24-cv-00001-ECT-TNL          Doc. 115-4     Filed 12/10/24   Page 1 of 10




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 Cheryl Sagataw, DeAnthony Barnes,                      Case No. 24-cv-0001 (ECT/TNL)
 Roberta Strong, Travis Neloms, on
 behalf of themselves and all others
                                                     NOTICE OF DEPOSITION OF CITY OF
 similarly situated,
                                                               MINNEAPOLIS
                                Plaintiffs,
        vs.

 Jacob Frey,
                               Defendant.

      Please take notice that Plaintiffs Cheryl Sagataw, DeAnthony Barnes,

Roberta Strong, and Travis Neloms, on behalf of themselves and the putative class

of those similarly situated, (“Plaintiffs”) will take the deposition of the City of

Minneapolis on XXX, 2024, beginning at XXX a.m. until adjournment thereafter.

The deposition will be taken via remote videoconferencing technology, as agreed by

the parties. The deposition will be taken before a certified court reporter authorized

to administer oaths, and the parties agree that the court reporter may swear in the

deponent remotely. Plaintiffs’ counsel’s office will circulate access instructions

and/or dial-in instructions in advance of the deposition.

      If remote videoconferencing technology becomes unavailable for more than

thirty consecutive minutes during the deposition, then, at the option of Plaintiff’s

counsel, Plaintiff may either proceed telephonically (or by remote videoconference

with Plaintiff’s counsel’s video turned off) or may adjourn the deposition and

reconvene the deposition to continue in-person or by remote videoconference on a

mutually convenient date.



                                                                               Exhibit D
         CASE 0:24-cv-00001-ECT-TNL        Doc. 115-4    Filed 12/10/24   Page 2 of 10


           Plaintiff intends to record the testimony by videoconference technology, in

     addition to recording the testimony by stenographic methods.

           Pursuant to Federal Rule of Civil Procedure 30(b)(6), the City of Minneapolis

     must designate one or more officers, directors, or managing agents, or other persons

     who consent to testify on its behalf, and this or these designee(s) should be prepared

     to testify regarding the following topic areas of inquiry, as specifically enumerated

     and detailed below:

I.       CITY POLICIES AND PROCEDURES RELATED TO UNHOUSED

         CONSTITUENTS

        1. Planning, discussion, and decision-making of houselessness-related policies.

     This includes, for example: the planning, discussion, and decision-making that has

     informed the City of Minneapolis’s policies, procedures, and decisions regarding the

     Homeless Response Team, the “encampment closure process,” and other storage and

     encampment policies; any and all revisions, or proposals for revisions, to these

     policies since August 2023; and formal as well as informal or de facto revisions or

     deviations in how these policies have been implemented.

        2. Storage offerings to unhoused Minneapolis residents in policy and practice.

     This includes how storage is offered to unhoused people, the process for accessing

     storage, the length of time storage may be utilized, the parameters for what can be

     stored, the supports (if any) available for helping people transport belongings to

     storage, and how and by whom the planning and implementation decisions of

     storage policies are made.



                                               2


                                                                                 Exhibit D
     CASE 0:24-cv-00001-ECT-TNL        Doc. 115-4    Filed 12/10/24   Page 3 of 10


   3. The roles and responsibilities of the Department of Regulatory Services, in

general and in relation to the provision of storage and administration of other

services for unhoused people in Minneapolis.

   4. The City’s relationship with its “outreach partners,” listed in Defendant’s

answer as: Agate, Avivo, Hennepin County’s Streets to Housing, and Healthcare for

the Homeless. This includes: how these organizations were/are identified and

selected; how the City communicates, supervises, directs, or manages the activities

that these outreach partners take on the City’s behalf; and whether other

organizations, such as the Catholic Charities Opportunity Center, are considered

outreach partners and why or why not.

   5. The City’s policies, procedures, and roles regarding shelter bed availability.

This includes: how the City supervises, supports, manages, and tracks the provision

and availability of shelter beds, if at all; whether and to what extent the City

ensures accommodations for people with disabilities; whether and to what extent

the City verifies the availability and accessibility of beds; whether and how

decisions are made to make additional beds available; how additional beds are made

available; and which and how many organizations participate in providing

overnight beds to unhoused Minneapolis residents.

   6. Policies and procedures regarding making and maintaining contact with

unhoused clients. This includes what policies or procedures are used or have been

adopted by the City and/or its outreach partners to inform how service providers

identify, support, and stay in contact with prospective unhoused clients, including



                                           3


                                                                             Exhibit D
         CASE 0:24-cv-00001-ECT-TNL         Doc. 115-4    Filed 12/10/24   Page 4 of 10


      those individuals without permanent addresses or telephone numbers and/or who

      have disabilities.

         7. Discussions or communications between third parties and the City regarding

      unhoused persons, encampments, and low-income housing. This includes

      discussions and communications regarding health and safety and impacts on the

      real estate market, the parties to such communications, and the fora over which

      these communications take place. This also includes discussions or communications

      with civilian crime reporting/monitoring organizations, like “Crime Watch,” “21

      Days of Peace,” and “We Push for Peace.”

         8. The contract between the City and Helix. This includes the processes,

      reasoning, and discussions or communications that informed, led to, and/or resulted

      in the contract, any requests for proposals, and any oversight mechanisms and

      metrics to assess Helix’s fulfillment of the contract terms.

         9. “No Trespassing” signage, fencing, and depositing of concrete and rubble.

      This includes which properties have had such items erected and when, how the City

      decides which properties should be posted and/or fenced and/or filled with concrete

      and rubble, and who makes such decisions and erects such items on behalf of the

      City.

         10. Publicly shared information about land ownership and status, including who

      manages the following City website:

      https://www.minneapolismn.gov/government/government-data/datasource/vacant-

      condemned-property-dashboard/.

II.       NENOOKAASI EVICTIONS
                                                 4


                                                                                 Exhibit D
      CASE 0:24-cv-00001-ECT-TNL                   Doc. 115-4        Filed 12/10/24        Page 5 of 10


    11. The decisions made to evict Nenookaasi. This includes the processes, factors,

and discussions or communications that have informed the decision of whether or

not to evict Nenookaasi and when, the manner in which such processes, factors, and

discussions or communications are documented or recorded, and who has final

decision-making authority.

    12. The City agencies and agents who have been present at each of the prior

Nenookaasi evictions1 and their roles. This includes the instructions or “briefs”

given to each of these agencies and agents before and during evictions, whether and

how agencies or agents are given such instructions or “briefed,” and what if any

feedback, debriefing, or review occurs after each eviction.

    13. Claims of inadequacies during evictions and subsequent investigations. This

includes whether and to what extent the City has received or is aware of claims,

complaints, or allegations that storage is functionally unavailable to residents,

shelter beds are unavailable, and residents are not given adequate notice or an

opportunity to salvage their belongings during evictions. This includes what steps

if any the City has taken to investigate and/or address such claims, complaints, or

allegations.

    14. Measures taken to protect the rights of people with disabilities during

evictions, if any.

    15. Decisions about how much time residents are permitted to pack up their

belongings during evictions, including who makes such decisions, what factors go



1
 These evictions include each eviction referenced in the Second Amended Complaint and supporting
documentation, as well as the July 25, 2024 eviction of the encampment on the 2800 block of 14th Ave S.
                                                        5


                                                                                                    Exhibit D
    CASE 0:24-cv-00001-ECT-TNL         Doc. 115-4    Filed 12/10/24   Page 6 of 10


into such decisions, what discussions or communications have informed such

decisions, whether the City has received or is aware of complaints that residents

have not received sufficient time, and what steps have been taken to address such

complaints if any.

   16. Communication from the City to residents prior to and during evictions. This

includes specific details regarding how, if at all, the City insures residents are made

aware of alternate housing options, transportation, and other resources; who shares

such information with residents, to whom they have specifically shared such

information, and when; and how if at all such information-sharing is documented.

   17. The destruction and/or disposal of shelters, personal effects, and other items

during evictions, including any inventories or documentation of such items, how

such items are destroyed or otherwise disposed of, and by whom.

   18. Law enforcement presence at evictions, including: how many officers, how

many vehicles, in what formations, and with what weapons and equipment have

been dispatched to evictions; who makes decisions regarding law enforcement

dispatch to and tactics at evictions; and by what process and with what input are

those decisions made.

   19. Law enforcement documentation of evictions, including whether and how

many law enforcement officers have had body worn cameras during each of the

evictions and/or have written reports pertaining to any of the evictions.

   20. Arrests, threats of arrests, and physical threats made by law enforcement

during evictions, including the number and context of each and whether weapons

were drawn and/or discharged.
                                           6


                                                                             Exhibit D
          CASE 0:24-cv-00001-ECT-TNL        Doc. 115-4    Filed 12/10/24    Page 7 of 10


          21. Official complaints filed against the City or its agents or agencies related to

       the evictions, including the number, sources, and subject matter of such complaints,

       and any responses or efforts to address such complaints by the City.

          22. Statements made by the City to the public and/or any third party or parties

       regarding or relating to the Nenookaasi evictions. This includes any statements

       regarding the notice given to residents, the justifications for evictions, and how

       encampments generally or Nenookaasi specifically has been or would be handled.

          23. The ceasing of notices for evictions, including what justifications or decisions

       led to the City not providing notice for evictions, who was a part of discussions or

       communications that informed such justifications or decisions, and who had final

       decision-making authority.

          24. The “pastor” the City hired to provide notice to Nenookaasi residents,

       including who this person is, why and how they were “authorized” by the City to

       provide eviction-related notice to residents and by whom, and what training and/or

       instructions they received.

III.       EFFORTS BY THE CITY TO ADDRESS THE NEEDS OF NENOOKAASI
           RESIDENTS AND THEIR HOUSED NEIGHBORS

          25. Assessment and documentation of the size and nature of Nenookaasi,

       including whether, when, and to what extent the City has attempted to assess

       and/or document such things as the population, the number of yurts and/or tents,

       and the number of fires and/or heaters, and how such information is collected,

       maintained, and verified. This includes the source or basis for the City’s claims

       that there were 18-20 fires at Nenookaasi.


                                                  7


                                                                                   Exhibit D
    CASE 0:24-cv-00001-ECT-TNL         Doc. 115-4    Filed 12/10/24   Page 8 of 10


   26. 311 calls, 911 calls, and other complaints or requests for emergency services

regarding or relating to Nenookaasi, including: how complaints are documented and

retained; how many such complaints or requests for emergency services have been

made since August 2024 to the City, including to the Minneapolis Police

Department; the nature of these requests; the number of repeat (as opposed to new

or distinct) complainants; the number of calls made by Nenookaasi residents

themselves; and whether and how the basis, substance, and cause of those

complaints and the identity of the complainant were verified.

   27. Data regarding complaints to the City related to or regarding unhoused

people or encampments in the East Phillips neighborhood prior to September of

2023, including baseline or comparative data illustrating rates of 311 calls, 911

calls, and other complaints or requests for emergency services, including those

related to drug overdoses, discarded hypodermic needles, human trafficking, gun

discharges, air pollution, thefts and other crimes, and waste or refuse.

   28. City ordinances and regulations alleged to have been violated by the

Nenookaasi encampment and its residents and the typical or usual City responses

to violations of such ordinances.

   29. The City’s current, planned, proposed, and anticipated future uses of each of

the prior locations of Nenookaasi from which residents have been evicted, including

what related discussions or communications have or are taking place, who

(including individuals, agencies, and third parties) has participated or is

participating in such discussions or communications, how such decisions are made

and who has final decision-making authority.
                                           8


                                                                              Exhibit D
         CASE 0:24-cv-00001-ECT-TNL       Doc. 115-4    Filed 12/10/24    Page 9 of 10


         30. Meetings with Nenookaasi organizers, liaisons, residents, and supporters,

      including when such meetings have occurred, who has participated in such

      meetings, what was discussed and how such meetings were documented or

      recorded, and what discussions or communications did City officials and agents

      have related to such meetings (including before and after).

         31. Information regarding the outbreak of Norovirus at Nenookaasi, including

      what information the City received or generated, and any information regarding

      any identified cause, reports of sickness, proposed and/or adopted safety and

      treatment measures, and communications with or orders to law enforcement or

      emergency responders about whether and how to respond during the outbreak.

IV.       THE FIRE

         32. The names, positions, and contact information of all staff, agencies, or agents

      who visited Nenookaasi on behalf of the City during the week prior to February 28,

      2024, including but not limited to individuals who were sent to Nenookaasi to

      discuss the fires and/or smoke, as well as how these individuals were briefed or

      instructed and any debrief or report-back to the City.

         33. Investigations regarding the fire at Nenookaasi on February 28, 2024,

      including what investigations have taken place, what investigations are ongoing,

      how investigations have been documented, who has conducted or is conducting such

      investigations, and any findings or reports.

         34. Investigations regarding the arson or attempted arson which took place at

      Nenookaasi during the week prior to February 28, 2024, including what

      investigations have taken place, what investigations are ongoing, how
                                                9


                                                                                Exhibit D
     CASE 0:24-cv-00001-ECT-TNL        Doc. 115-4     Filed 12/10/24    Page 10 of 10


investigations have been documented, who has conducted or is conducting such

investigations, and any findings or reports.

   35. The City’s fire and arson investigation procedures, including the standard

operating procedures for fire and arson investigations.

   36. The role of the Minneapolis Fire Department and Minneapolis Police

Department, including the Arson Investigation Unit, in investigating fires and

suspected arsons generally, and in the case of the Nenookaasi fire in particular.




Dated: August 12, 2024                         s/Kira Kelley
                                               Kira Kelley (#402932)
                                               Climate Defense Project
                                               P.O. Box 7040
                                               Minneapolis, MN 55407
                                               Phone: (802) 683-4086
                                               Email: kira@climatedefenseproject.org


                                               ___//s// Claire Nicole Glenn _____________
                                               Claire Nicole Glenn (she/her)
                                               Staff Attorney
                                               Climate Defense Project
                                               P.O. Box 7040
                                               Minneapolis, MN 55407
                                               651-343-4816
                                               claire@climatedefenseproject.org
                                               District of Columbia License No. 888242412
                                               Maryland License No. 1902280002
                                               Minnesota License No. 0402443


                                               ATTORNEYS FOR PLAINTIFFS




                                         10


                                                                               Exhibit D
